       3:19-cv-03010-SEM-TSH # 26             Page 1 of 7                                             E-FILED
36678-1 TMP/JNK/ALS                                                    Monday, 29 April, 2019 01:41:49 PM
                                                                            Clerk, U.S. District Court, ILCD

                             IN THE UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF ILLINOIS
                                     SPRINGFIELD DIVISION

LARRY PIPPION, AS REPRESENTATIVE OF THE          )
ESTATE OF LARRY EARVIN,                          )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )           Law No. 19-cv-03010-SEM-TSH
                                                 )
WILLIE HEDDEN, BENJAMIN BURNETT, BLAKE           )
HAUBRICH, ALEX BANTA, CAMERON                    )
WATSON and STEVE SNYDER,                         )
                                                 )
               Defendants.                       )

        MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO STAY

       NOW COMES Defendant WILLIE HEDDEN, by THERESA M. POWELL of HEYL, ROYSTER,

VOELKER & ALLEN, P.C., his attorneys, and for his Memorandum of Law in Support of

Defendant’s Motion to Stay, states as follows:

                                       I. INTRODUCTION

       Plaintiff has filed a multi-count cause of action against Defendant Hedden. Plaintiff

asserts multiple federal civil rights claims as well as state law claims based upon incidents which

allegedly occurred on May 17, 2018. Defendant Hedden and his counsel have the belief that the

U.S. Attorney’s Office in conjunction with the FBI are conducting grand jury proceedings to

determine whether criminal charges will be filed against Defendant Hedden based upon the

same factual allegations alleged in this complaint. Accordingly, Defendant Hedden brings this

motion to stay the civil action until the criminal proceeding has concluded.




                                           19-cv-03010
                                             Page 1
        3:19-cv-03010-SEM-TSH # 26               Page 2 of 7
36678-1 TMP/JNK/ALS



                                       II. LEGAL ARGUMENT

        Defendant Hedden requests that this Court stay the pending civil claim as allowing such

a claim to go forward would force him into the position of defending himself without the ability

to obtain discovery from the Codefendants due to their likely decision to invoke privilege

against self-incrimination under the Fifth Amendment. Defendant Hedden also asserts that he

should not be forced to choose between claiming privilege and prejudicing the defense of this

case in light of any potential criminal charges.

        Defendant Hedden has the understanding that the FBI is conducting criminal

investigations which may or may not already have resulted in the presentation of evidence to a

grand jury relating to the facts in this case.

        Absent the stay of proceedings in this case, Defendant would have to make a

determination whether to claim privilege against self-incrimination or to answer the complaint,

respond to written discovery requests and questioning in deposition or run the risk of invoking

his Fifth Amendment privilege to remain silent which could be used as a basis for an inference

against him in this case. Harris v. City of Chicago, 266 F.3d 750, 753 (7th Cir. 2001).

        While counsel for Defendant Hedden acknowledges that he is not automatically entitled

to a stay when a parallel criminal proceeding is pending or exists, Defendant would assert that

the interests of justice require a stay in this case. It is within this Court’s discretion to award

such relief. See United States v. Kordel, 397 U.S. 1, 12 note 27, 90 S.Ct. 763 (1970). In order to

make its determination, the Court must balance the interests of the Plaintiff, the Defendants and

the public. The factors to be considered include the following: whether the civil and criminal

matters involve the same subject; whether the governmental entity that has initiated the criminal


                                             19-cv-03010
                                               Page 2
       3:19-cv-03010-SEM-TSH # 26              Page 3 of 7
36678-1 TMP/JNK/ALS



case or investigation is also a party in the civil case; the posture of the criminal proceeding; the

effect of granting or denying a stay on the public interests; the interests of the civil case plaintiff

in proceeding expeditiously, and the potential prejudice the Plaintiff may suffer from a delay;

and the burden that any particular aspect of the civil case may impose on the Defendants if the

stay is denied.

1.     Relationship between civil and criminal matters

       Presently, there are no actual criminal charges pending against Defendant Hedden or

any of the other Defendants. However, the criminal counsel for Defendant Hedden has advised

that the FBI and U.S. Attorney are in the process of evaluating potential criminal charges based

upon the identical facts alleged in the complaint at issue. It is understood that the potential

criminal charges include but may not be limited to a claim of intentional violation of the

Plaintiff’s civil rights. Defendant argues that the relationship between the civil and criminal

matters therefore weighs in favor of a stay given the identical nature of the allegations asserted.

2.     Whether the government is a party in both cases

       The Defendant concedes that the government is not a party in the civil case and that

such would weigh against the stay. At the same time, the claims asserted in this civil case

appear to be similar if not identical to the expected charges that may be asserted by the U.S.

Attorney’s Office against one or more of the Defendants.

3.     Posture of the criminal proceedings

       There are no active criminal charges pending against the Defendant.                 Defendant

acknowledges that he faces only the threat of criminal charges and that none have actually been

filed. While this may weigh against entry of a stay, these potential charges appear to be in the



                                            19-cv-03010
                                              Page 3
       3:19-cv-03010-SEM-TSH # 26              Page 4 of 7
36678-1 TMP/JNK/ALS



pipeline from the federal government resulting from the grand jury process. This Court may be

aware that a grand jury has been convened and that an investigation is in fact ongoing. It is

likely that at least one if not more of the Defendants is likely to face criminal charges as the

result of the investigation which should weigh in favor of the stay.

4.     Effect of the stay on the public interests

       The public has an interest in insuring that a criminal process could proceed and tainted

by civil litigation. See Jones v. City of Indianapolis, 216 FRD 440, 452 (S.D. Ind. 2003). While the

public may also have an interest in the prompt disposition of civil litigation, forcing a civil matter

to proceed quickly could actually result in a verdict which is at odds with the outcome in the

criminal matter. This in fact could benefit the Defendant, however, the potential benefit of

proceeding is outweighed by the risk of harm and therefore should weigh in favor of the stay.

5.     Plaintiff’s interest in proceeding quickly

       The Plaintiff in this case may have an interest in proceeding quickly. However, there is

no evidence to suggest that a delay in proceeding in the civil matter would impose a significant

burden on the Plaintiff and in fact may prove beneficial to the Plaintiff should a verdict be

entered against the Defendants in a criminal matter. While it is possible with the passage of

time which evidence may become somewhat stale, such is highly unlikely to occur in a case

where a criminal proceeding has occurred in the recent past.

6.     The burden imposed on Defendants regarding any particular aspects of a civil
       litigation

       Any defendant in this case who would be forced to respond to a complaint as well as

discovery in this case would be forced with the choice of whether to claim or waive his privilege

against self-incrimination under the Fifth Amendment. If faced with such a choice, Defendant


                                            19-cv-03010
                                              Page 4
        3:19-cv-03010-SEM-TSH # 26            Page 5 of 7
36678-1 TMP/JNK/ALS



Hedden can assert that he would claim the privilege as to certain requests and allegations. It is

expected that the Codefendants in this case would do likewise. The question becomes one of

fairness under the circumstances. The Court has acknowledged that it is not rare for a person

faced with criminal charges or a pending investigation to invoke his Fifth Amendment privilege

even though he may have done nothing wrong out of an abundance of caution or due to

direction from a careful criminal defense lawyer. The Court has held that backing a defendant

into such a situation forces such defendant to face a significant risk of unfair prejudice that

could be impossible to remedy. The Court has considered this a factor weighing in favor of a

stay. See Chagolla v. City of Chicago, 529 F.Supp.2d 941, 947 (2008).

        Defendant prays that this Court will consider the factors and determine that a stay is

appropriate as pertains to the pending complaint, all discovery as well as any trial settings in this

case pending the outcome of any criminal proceedings relating to the same underlying facts.

        WHEREFORE, Defendant prays that this Court would allow Defendant’s motion in the

interests of justice.




                                           19-cv-03010
                                             Page 5
       3:19-cv-03010-SEM-TSH # 26   Page 6 of 7
36678-1 TMP/JNK/ALS



                                          Respectfully Submitted,

                                          WILLIE HEDDEN, Defendant

                                          s/ Theresa M. Powell
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                                19-cv-03010
                                  Page 6
         3:19-cv-03010-SEM-TSH # 26         Page 7 of 7
36678-1 TMP/JNK/ALS



                                     PROOF OF SERVICE

       I hereby certify that on April 29, 2019, I electronically filed the foregoing instrument,
MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO STAY, with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to the following:

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                                         19-cv-03010
                                           Page 7
